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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )                   8:07CR431
      vs.                                    )
                                             )                     ORDER
KADHEM ALBUMOHAMED,                          )
                                             )
                      Defendant.             )


      This matter is before the court on the motion [28] of Jeffrey L. Thomas and [29] of
Brendan M. Kelly for leave to withdraw as counsel for the defendant. Substitute counsel,
Korey L. Reiman, has entered an entry of appearance [24].

      IT IS ORDERED:

      1. The Motion to Withdraw [28] and Motion to Withdraw [29] are granted, and the
appearance of Jeffrey L. Thomas and Brendan M. Kelly are hereby deemed withdrawn.

      2.    The trial order [27] remain in effect.

      DATED February 14, 2008.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
